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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Gata HF, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9381 Homestead Rd.                                              1463 Graystone Canyon Ave.
                                  Pahrump, NV 89061-8839                                          Las Vegas, NV 89183-6306
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Nye                                                             Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Gata HF, LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                1119

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number




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Debtor    Gata HF, LLC                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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Debtor   Gata HF, LLC                                                            Case number (if known)
         Name

                         $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                         $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                         $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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 Fill in this information to identify the case:

 Debtor name         Gata HF, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          10/19/2021                              X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Paul Thomas
                                                                         Printed name

                                                                         Manager of Gata IV, LLC as Sole Member
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Gata HF, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 John Casper                                                     Unsecured loans                                                                                        $312,921.18
 942 Villa Grande Way
 Boulder City, NV
 89005
 Edlin Kim                                                       Unsecured loans                                                                                        $205,000.00
 c/o Compass Point
 Holdings, LLC
 4525 Dean Martin Dr.,
 Unit 1208
 Las Vegas, NV 89103
 Laura Perry                                                     Personal loan                                                                                            $24,000.00
 5953 Mabel Road,
 #120
 Las Vegas, NV 89110
 Shelley Wilde                                                   Personal loan                                                                                            $12,000.00
 265 Tuscany Ridges
 Heights NW
 Calgary AB Canada
 T3L 3B8




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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    ACTION BY WRITTEN CONSENT OF THE SOLE MANAGER AND MEMBER
               OF GATA HF, a Nevada limited liability company
        The undersigned, being the sole manager and member of GATA HF, LLC, a Nevada
limited liability company (the “Company”), hereby approves and adopts the following
resolutions effective as of October 18, 2021:
        WHEREAS, the Company, having determined that in its judgment, and upon the advice
of counsel, that it is desirable and in the best interests of the Company and its creditors and other
interested parties that a voluntary petition for relief be filed under the chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”);
        BE IT THEREFORE RESOLVED, the Company shall file a voluntary petition for relief
under chapter 11, Subchapter V of the Bankruptcy Code in the U.S. Bankruptcy Court for the
District of Nevada (the “Bankruptcy Court”) and take all steps necessary thereto, and the
Company is authorized to employ Larson & Zirzow, LLC to represent it in the proceeding.
        BE IT FURTHER RESOLVED, that Paul Thomas, as the indirect manager and sole
member of the Company (the “Authorized Person”) shall be authorized, empowered and
directed, in the name and on behalf of the Company, to execute and verify a petition, schedules,
and any amendments thereto under chapter 11 of the Bankruptcy Code, and to cause the same to
be filed with the Bankruptcy Court as soon as he shall determine, and take all other reasonable
steps thereafter in such bankruptcy case, including without limitation the filing and confirmation
of a plan of reorganization.
       BE IT FURTHER RESOLVED, that the Authorized Person shall be designated as the
responsible person in the Company’s chapter 11 bankruptcy case pursuant to Fed. R. Bankr. P.
9001(5), and is authorized and directed to appear in all bankruptcy proceedings on behalf of the
Company, and to otherwise do and perform all acts and deeds and to execute and deliver all
necessary documents on behalf of the Company in connection with such bankruptcy case.
        BE IT FURTHER RESOLVED that any and all past actions taken by the Authorized
Person of the Company in the name and on behalf of the Company in furtherance of any or all of
the preceding resolutions be, and the same hereby are, ratified, confirmed, and approved.
     IN WITNESS WHEREOF, the undersigned, constituting all of the Directors of the
Company, by execution hereof, hereby approve the foregoing.
GATA HF, LLC,
a Nevada limited liability company:

 By: GATA IV, LLC,
     a Nevada limited liability company
     as Manager of GATA HF, LLC


     By:
           Paul Thomas,
           as Sole Manager of GATA IV, LLC
           as Sole Member of GATA HF, LLC
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      Gata HF, LLC                                                                                  Case No.
                                                                                    Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of Gata IV, LLC as Sole Member of the corporation named as the debtor in this case, hereby verify that the attached

list of creditors is true and correct to the best of my knowledge.




 Date:         10/19/2021
                                                                        Paul Thomas/Manager of Gata IV, LLC as Sole Member
                                                                        Signer/Title




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                                                                                              Treasurer
1463 Graystone Canyon Ave.          Attn: Bankruptcy Dept/Managing Agent        c/o Bankruptcy Clerk
Las Vegas, NV 89183-6306            P.O. Box 7346                               500 S. Grand Central Pkwy
                                    Philadelphia, PA 19101                      P.O. Box 551220
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                                                                                Las Vegas, NV 89155

Clark County Assessor                  Dept. of Empl, Training & Rehab          Nevada Dept. of Taxation
c/o Bankruptcy Clerk                   Employment Security Division             Bankruptcy Section
500 S. Grand Central Pkwy              500 East Third Street                    555 E. Washington Avenue #1300
Box 551401                             Carson City, NV 89713                    Las Vegas, NV 89101
Las Vegas, NV 89155

Social Security Administration         David Leventhal                          Freedom Fries, LLC
Attn: Bankruptcy Desk/Managing Agent   2260 Village Walk Dr., Ste.1204          c/o Laura Perry, Managing Member
PO Box 33021                           Reno, NV 89502                           5953 Mabel Rd., #120
Baltimore, MD 21290-3021                                                        Las Vegas, NV 89110


Judith Zakalik, Esq.                   NV Captial Corporation, LLC              Nye County Treasurer
6173 S. Rainbow Blvd.                  c/o John R. Blackmon, Registered Agent   Attn: John W. Prudhont
Las Vegas, NV 89118                    410 S. Rampart Blvd., Ste. 350           P.O. Box 473
                                       Las Vegas, NV 89145                      Tonopah, NV 89049


Paul Thomas                            Bryan Foster                             Christian Madsen
1463 Graystone Canyon Ave.             c/o NV Capital Corporation LLC           c/o NV Capital Corporation LLC
Las Vegas, NV 89183                    8880 W. Sunset Rd., Ste. 190             8880 W. Sunset Rd., Ste. 190
                                       Las Vegas, NV 89148                      Las Vegas, NV 89148


Denise Vinci, Trustee of the Vinci     Eduardo Castillo and Alondra Castillo    FCI Lender Services, Inc.
Family Trust dtd 3/16/2007             Living Trust dtd 12/19/2017              c/o Cogency Global, Inc.,
c/o NV Capital Corporation LLC         c/o NV Capital Corporation LLC           Registered Agent
8880 W. Sunset Rd., Ste. 190           8880 W. Sunset Rd., Ste. 190             321 W. Winnie Lane #104
Las Vegas, NV 89148                    Las Vegas, NV 89148                      Carson City, NV 89703

FCI Lender Services, Inc.              First Savings Bank as Custodian for      Freedom Fries, LLC
8180 E. Kaiser Blvd.                   Russell S. Bono, SEP IRA                 c/o Terraformance, LLC
Anaheim, CA 92808                      c/o NV Capital Corporation LLC           Attn: Jason P. Hoffman, Manager
                                       8880 W. Sunset Rd., Ste. 190             102620 Southern Highlands Pkwy, #
                                       Las Vegas, NV 89148                      Las Vegas, NV 89141

Nevada Trust Deed Services             NV Captial Corporation, LLC              Starlight Funding, LLC
10161 Park Run Dr., Ste. 150           c/o John R. Blackmon, Manager            Attn: Carol Theisen, Manager
Las Vegas, NV 89145                    410 S. Rampart Blvd., Ste. 350           c/o NV Capital Corporation LLC
                                       Las Vegas, NV 89145                      8880 W. Sunset Rd., Ste. 190
                                                                                Las Vegas, NV 89148

The Howard Family Trust dtd 3/7/1997   Yukiko Minami                            Gata IV, LLC
Charles Howard, Trustee                c/o NV Capital Corporation LLC           Attn: Paul Thomas
c/o NV Capital Corporation LLC         8880 W. Sunset Rd., Ste. 190             1463 Graystone Canyon Ave.
8880 W. Sunset Rd., Ste. 190           Las Vegas, NV 89148                      Las Vegas, NV 89123
Las Vegas, NV 89148
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